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FILED IN OPEN COURT
JACKSONVILLE, FLORIDA
UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA ‘12/28/21

JACKSONVILLE DIVISION
U.S. DISTRICT COURT
UNITED STATES OF AMERICA MIDDLE DISTRICT OF FLORIDA
V. CASE NO. 3:21-cr-46-MMH-PDB

SHAWN CURTIS ROBINSON Jr.
PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, By Karin
Hoppmann, Acting United States Attorney for the Middle District of Florida, and
the defendant, SHAWN CURTIS ROBINSON Jr., and the attorney for the
defendant, Darcy Galnor, mutually agree as follows:
A.  Particularized Terms

ih Count(s) Pleading To

The defendant shall enter a plea of guilty to distributing 50 grams or

more of actual methamphetamine, a Schedule II controlled substance, in violation of
21 U.S.C. § 841(a)(1) and (b)(1)(A), a lesser included offense of Count Three of the
Indictment. Count Three charges the defendant with distributing fifty grams or more
of actual methamphetamine, a Schedule II controlled substance, after having a final
conviction for a serious drug felony, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A),

and 851.

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2 Minimum and Maximum Penalties
The charge to which defendant is pleading carries a minimum
mandatory penalty of not less than ten years of imprisonment up to life, a fine of not
more than $10 million, or both a term of imprisonment and a fine, a term of
supervised release of at least five years, and a mandatory special assessment of $100,
said special assessment to be due on the date of sentencing. A violation of the terms
and conditions of supervised release carries a maximum sentence of not more than
five years of imprisonment as well as the possibility of an additional term of
supervised release.
a Alleyne v. United States and Apprendi v. New Jersey
Under Alleyne v. United States, 570 U.S. 99 (2013), and Apprendi v.
New Jersey, 530 U.S. 466 (2000), the defendant is subject to a mandatory minimum
sentence of not less than ten years of imprisonment and a maximum sentence of life
as to Count Three because the following facts have been admitted by the defendant
and are established by this plea of guilty:
The quantity of actual methamphetamine the defendant distributed was
more than 50 grams.

4. Elements of the Offense(s)

The defendant acknowledges understanding the nature and elements of

the offense(s) with which defendant has been charged and to which defendant is

pleading guilty.

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The elements of Count Three are:

First: The defendant distributed methamphetamine, which is a
Schedule II controlled substance;

Second: The defendant did so knowingly and intentionally; and

Third: The quantity of actual methamphetamine distributed by
defendant was 50 grams or more.

a. Counts Dismissed
At the time of sentencing, the remaining count(s) against the defendant,
Counts One, Two, and Four, will be dismissed pursuant to Fed. R. Crim. P.
11(c)(1)(A).
6. Section 851 Enhancement To Be Withdrawn
If the Court accepts this plea agreement, the United States agrees to
withdraw the Information under 21 U.S.C. § 851 that triggers an enhancement of the
applicable statutory minimum penalty as a result of the defendant’s prior criminal
history. The defendant understands that if the Court does not accept this plea
agreement, if the defendant is permitted to withdraw his plea of guilty, or if for any
other reason his plea of guilty is vacated or set aside, the United States is not bound
by this agreement and may re-file an information under 21 U.S.C. § 851 at its
discretion.
he Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse information

is received suggesting such a recommendation to be unwarranted, the United States

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will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG §3E1.1(a). The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to
withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level prior
to operation of subsection (a) is level 16 or greater, and if the defendant complies
with the provisions of USSG §3E1.1(b) and all terms of this Plea Agreement,
including but not limited to, the timely submission of the financial affidavit
referenced in Paragraph B.5., the United States agrees to file a motion pursuant to
USSG §3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely
with the United States Attorney for the Middle District of Florida, and the defendant
agrees that the defendant cannot and will not challenge that determination, whether
by appeal, collateral attack, or otherwise.

8. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to forfeiture,
pursuant to 21 U.S.C. § 853, whether in the possession or control of the United

States, the defendant or defendant's nominees. Specifically, on August 24, 2021, the

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Bureau of Alcohol, Tobacco, Firearms & Explosives completed an administrative
forfeiture of the following assets which it alleges are proceeds of the defendant’s drug
trafficking activities:
a. $4,600.00 in United States currency; and
b. $6,980.00 in United States currency.
The defendant did not contest the administrative forfeiture of these assets and
expressly waives any right he may have to challenge such forfeiture.

The defendant agrees and consents to the forfeiture of these assets
pursuant to any federal criminal, civil judicial or administrative forfeiture action.
The defendant also agrees to waive all constitutional, statutory and procedural
challenges (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of
the guilty plea, announced at sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant to
Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time it is
entered. In the event the forfeiture is omitted from the judgment, the defendant
agrees that the forfeiture order may be incorporated into the written judgment at any

time pursuant to Rule 36.

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The defendant agrees to take all steps necessary to identify and locate
all property subject to forfeiture and to transfer custody of such property to the
United States before the defendant’s sentencing. To that end, the defendant agrees to
make a full and complete disclosure of all assets over which defendant exercises
control directly or indirectly, including all assets held by nominees, to execute any
documents requested by the United States to obtain from any other parties by lawful
means any records of assets owned by the defendant, and to consent to the release of
the defendant’s tax returns for the previous five years. The defendant further agrees
to be interviewed by the government, prior to and after sentencing, regarding such
assets and their connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United States.
The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § 1B1.8
will not protect from forfeiture assets disclosed by the defendant as part of the
defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the defendant’s
sentencing. In addition to providing full and complete information about forfeitable
assets, these steps include, but are not limited to, the surrender of title, the signing of
a consent decree of forfeiture, and signing of any other documents necessary to

effectuate such transfers.

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Forfeiture of the defendant's assets shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be
found ineligible for a reduction in the Guidelines calculation for acceptance of
responsibility and substantial assistance, and may be eligible for an obstruction of
justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this agreement
shall be determined as if the defendant had survived, and that determination shall be
binding upon defendant’s heirs, successors and assigns until the agreed forfeiture,
including any agreed forfeiture amount, is collected in full.

B. Standard Terms and Conditions
lt, Restitution, Special Assessment and Fine

The defendant understands a agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses described in

18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to make restitution

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to any victim of the offense(s), pursuant to 18 U.S.C. § 3663, including restitution as
to all counts charged, whether or not the defendant enters a plea of guilty to such
counts, and whether or not such counts are dismissed pursuant to this agreement.
The defendant further understands that compliance with any restitution payment
plan imposed by the Court in no way precludes the United States from
simultaneously pursuing other statutory remedies for collecting restitution (18 U.S.C.
§ 3003(b)(2)), including, but not limited to, garnishment and execution, pursuant to
the Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. The special assessment is
due on the date of sentencing. The defendant understands that this agreement
imposes no limitation as to fine.

As Supervised Release

The defendant understands that the offense(s) to which the defendant is
pleading provide(s) for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the

defendant would be subject to a further term of imprisonment.

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a. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon conviction,
a defendant who is not.a United States citizen may be removed from the United
States, denied citizenship, and denied admission to the United States in the future.
A. Sentencing Information
The United States reserves its right and obligation to report to the Court
and the United States Probation Office all information concerning the background,
character, and conduct of the defendant, to provide relevant factual information,
including the totality of the defendant's criminal activities, if any, not limited to the
count(s) to which defendant pleads, to respond to comments made by the defendant
or defendant's counsel, and to correct any misstatements or inaccuracies. The
United States further reserves its right to make any recommendations it deems
appropriate regarding the disposition of this case, subject to any limitations set forth
herein, if any.
5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(@i),
the defendant agrees to complete and submit to the United States Attorney's Office
within 30 days of execution of this agreement an affidavit reflecting the defendant's
financial condition. The defendant promises that his financial statement and
disclosures will be complete, accurate and truthful and will include all assets in

which he has any interest or over which the defendant exercises control, directly or

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indirectly, including those held by a spouse, dependent, nominee or other third party.
The defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by the
defendant, directly or through a nominee, and, by the execution of this Plea
Agreement, consents to the release of the defendant's tax returns for the previous five
years. The defendant similarly agrees and authorizes the United States Attorney's
Office to provide to, and obtain from, the United States Probation Office, the
financial affidavit, any of the defendant's federal, state, and local tax returns, bank
records and any other financial information concerning the defendant, for the
purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The defendant
expressly authorizes the United States Attorney's Office to obtain current credit
reports in order to evaluate the defendant's ability to satisfy any financial obligation
imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared
by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations and

present arguments to the Court, the sentence will be determined solely by the Court,
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with the assistance of the United States Probation Office. Defendant further
understands and acknowledges that any discussions between defendant or
defendant's attorney and the attorney or other agents for the government regarding
any recommendations by the government are not binding on the Court and that,
should any recommendations be rejected, defendant will not be permitted to
withdraw defendant's plea pursuant to this plea agreement. The government
expressly reserves the right to support and defend any decision that the Court may
make with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.
7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant's sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States
Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant's applicable guidelines range as determined by the Court pursuant to the
United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government exercises

its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then

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the defendant is released from his waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and cannot bind other
federal, state, or local prosecuting authorities, although this office will bring
defendant's cooperation, if any, to the attention of other prosecuting officers or
others, if requested.
9, Filing of Agreement
This agreement shall be presented to the Court, in open court or in
camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or coercion
of any kind. The defendant further acknowledges defendant's understanding of the
nature of the offense or offenses to which defendant is pleading guilty and the

elements thereof, including the penalties provided by law, and defendant's complete

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satisfaction with the representation and advice received from defendant's
undersigned counsel (if any). The defendant also understands that defendant has the
right to plead not guilty or to persist in that plea if it has already been made, and that
defendant has the right to be tried by a jury with the assistance of counsel, the right
to confront and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading guilty,
defendant waives or gives up those rights and there will be no trial. The defendant
further understands that if defendant pleads guilty, the Court may ask defendant
questions about the offense or offenses to which defendant pleaded, and if defendant
answers those questions under oath, on the record, and in the presence of counsel (if
any), defendant's answers may later be used against defendant in a prosecution for
perjury or false statement. The defendant also understands that defendant will be
adjudicated guilty of the offenses to which defendant has pleaded and, if any of such
offenses are felonies, may thereby be deprived of certain rights, such as the right to
vote, to hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty. The

defendant certifies that defendant does hereby admit that the facts set forth in the

attached "Factual Basis," which is incorporated herein by reference, are true, and

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were this case to go to trial, the United States would be able to prove those specific
facts and others beyond a reasonable doubt.
12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the
defendant or defendant's attorney with regard to such guilty plea.
13. Certification
The defendant and defendant's counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant

fully understands its terms.

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~DATED this | [May of Net 2021.

KARIN HOPPMANN
Acting United States Attorney

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SHAWN CURTIS ROBINSON Jr. AURA COFER fAYLOR

Defendant Assistant United States Attorney
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DARCYGALNOR ~FRANK TALBOT

Attornéyfor Defendant Assistant United States Attorney

Chief, Jacksonville Division

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 3:21-cr-46-MMH-PDB

SHAWN CURTIS ROBINSON Jr.

PERSONALIZATION OF ELEMENTS
As to Count Three:

1... Onor about March 23, 2021, in Duval County, in the Middle District
of Florida, did you distribute methamphetamine, a Schedule II controlled substance?

ae Did you do so knowingly and intentionally?

3. Was the quantity of actual methamphetamine you distributed 50 grams
or more?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 3:21-cr-46-MMH-PDB
SHAWN CURTIS ROBINSON Jr.

FACTUAL BASIS

In March 2021, a cooperating defendant (“CD”) provided information to law
enforcement, including a detective for the Nassau County Sheriff's Office (“NCSO”)
and the Bureau of Alcohol, Tobacco, and Firearms (“ATF”) regarding the drug
trafficking activities of a person later identified as Shawn Curtis ROBINSON Jr.
According to the CD, he had previously purchased several ounces of
methamphetamine from ROBINSON per day. The CD provided a phone number
for ROBINSON. A detective for NCSO was able to make contact with ROBINSON
via the phone number provided by the CD and arranged to purchase two ounces of
methamphetamine from ROBINSON.

On March 11, 2021, the NCSO detective, acting in an undercover capacity
(“UC”) conducted a controlled purchase of methamphetamine from ROBINSON.
The controlled purchase was conducted at 2818 East Cherokee Circle, in
Jacksonville, Duval County, Florida, within the Middle District of Florida. During

the controlled purchase, ROBINSON entered the UC’s vehicle and provided the UC

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with a clear plastic sandwich bag containing methamphetamine, and the UC paid
ROBINSON $1000 of ATF purchasing funds. In addition, during their interactions
the UC paid ROBINSON $100 to settle a debt that the CD owed to ROBINSON.
After the controlled purchase, the UC provided the methamphetamine he purchased
from ROBINSON to ATF, and it was placed into evidence. The methamphetamine
was later submitted to the Drug Enforcement Administration laboratory for testing,
which identified the substance sold by ROBINSON as consisting of 55.77 grams of
methamphetamine that was 86% pure, equating to 47.96 grams of actual
methamphetamine.

On March 16, 2021, the UC conducted a second controlled purchase of
methamphetamine from ROBINSON at the Cherokee Circle residence. During the
controlled purchase, ROBINSON entered the UC vehicle and provided the UC with
two clear plastic sandwich bags containing methamphetamine. The UC paid
ROBINSON $1000 of ATF purchasing funds for the methamphetamine. After the
controlled purchase, the UC provided the methamphetamine he purchased from
ROBINSON to ATF, and it was placed into evidence. The methamphetamine was
later submitted to the Drug Enforcement Administration laboratory for testing,
which identified the substance sold by ROBINSON as consisting of 55.58 grams of
methamphetamine that was 90% pure, equating to 50.02 grams of actual

methamphetamine.

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On March 23, 2021, the UC conducted a third controlled purchase of
methamphetamine from ROBINSON. During this controlled purchase, the UC met
with ROBINSON at 2673 Forbes Street, Jacksonville, Duval County, Florida, within
the Middle District of Florida. ROBINSON entered the UC vehicle and provided
the UC with four clear plastic sandwich bags of methamphetamine. ROBINSON
and the UC discussed a possible transaction for a firearm, but ROBINSON indicated
he did not know anyone who would sell one. ROBINSON stated that he would let
the UC know if he found a lead on a firearm. The UC paid ROBINSON $2000 of
ATF cashier funds for the methamphetamine. After the controlled purchase, the UC
provided the methamphetamine he purchased from ROBINSON to ATF, and it was
placed into evidence, The methamphetamine was later submitted to the Drug
Enforcement Administration laboratory for testing, which identified the substance
sold by ROBINSON as consisting of 111.54 grams of methamphetamine that was
81% pure, equating to 90.34 grams of actual methamphetamine.

On April 14, 2021, the UC placed a recorded phone call to ROBINSON in
order to arrange for an additional purchase of methamphetamine and follow up
regarding a possible firearm purchase. ROBINSON indicated that he did have a lead
on a firearm, but that it would be expensive because it was “big stuff brand new out
the box.” ROBINSON advised he would get back to the UC regarding pricing on a

firearm.

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On April 15, 2021, the UC conducted a fourth controlled purchase of
methamphetamine from ROBINSON at the Cherokee Circle residence.
ROBINSON entered the passenger seat of the UC vehicle and provided the UC with
two clear plastic sandwich bags containing methamphetamine; the UC paid
ROBINSON $1000 of ATF cashier funds. ROBINSON indicated to the UC that he
would get in touch with the individual who had firearms. After the controlled
purchase, the UC provided the methamphetamine he purchased from ROBINSON
to ATF, and it was placed into evidence. The methamphetamine was later submitted
to the Drug Enforcement Administration laboratory for testing, which identified the
substance sold by ROBINSON as consisting of 56.09 grams of methamphetamine
that was 100% pure, equating to 56.09 grams of actual methamphetamine.
On May 3, 2021, ROBINSON was arrested by agents with ATF outside of the

Cherokee Circle residence. Prior to the arrest, the UC and ATF agents conducted

_ surveillance of the residence, and observed a man wearing a red shirt and red shorts
loading items from the Cherokee Circle residence into a Ford F350 truck parked in
the driveway: ROBINSON was observed standing on the porch of the residence
smoking and talking to the man wearing the red shirt and red shorts. Agents then
observed ROBINSON enter the passenger seat of the Ford F350 truck and close the
door. Agents then made contact with ROBINSON, removed him from the Ford
F350 truck, and handcuffed him. At that time, ROBINSON was wearing only boxer

shorts. Agents smelled a strong odor of marijuana emanating from the Ford F350

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truck. A search of the Ford F350 truck revealed a shoebox containing $6980 in US
currency, sandwich bags containing suspected alpha-PVP, marijuana, and cocaine.
The man wearing the red shirt and red shorts voluntarily escorted an agent inside of
the Cherokee Circle residence to obtain clothing for ROBINSON. A pair of shorts
that were obtained for ROBINSON were found to contain $4600 in US currency.
ROBINSON was advised of his Miranda rights and agreed to speak with agents.

ROBINSON admitted to having sold methamphetamine to the UC.

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